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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

GAIGE TREADWAY,                                :
1266 Grandview Avenue
Heath, Ohio 43056                              :

              Plaintiff,                       :   CASE NO.

       v.                                      :   JUDGE

COLUMBUS DIVISION OF POLICE,                   :
120 Marconi Boulevard
Columbus, Ohio 43215                           :   42 U.S.C. § 1983 Civil Complaint

       and                                     :   Jury Demand Endorsed Herein

OFC. JAMES V. LONG,                            :
120 Marconi Boulevard
Columbus, Ohio 43215                           :

       and                                     :

SGT. MICHAEL RAMSEY,                           :
120 Marconi Boulevard
Columbus, Ohio 43215                           :

       and                                     :

UNKNOWN OFFICERS,                              :
120 Marconi Boulevard
Columbus, Ohio 43215                           :

              Defendants.                      :


                                       COMPLAINT

       Plaintiff Gaige Treadway, by and through undersigned counsel, and for his Complaint

against the Columbus Division of Police, Ofc. James V. Long, Sgt. Michael Ramsey, and

Unknown Officers (collectively “Defendants”) states as follows:
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                     NATURE OF ACTION AND JURISDICTION

 1.   This is a civil action brought under 42 U.S.C. § 1983 seeking damages against

      Defendants for committing acts, under color of state law, with the intent and purpose of

      depriving Plaintiff of rights secured under the Constitution and laws of the United

      States and for refusing or neglecting to prevent such deprivations and denials to

      Plaintiff.

 2.   This case arises under the United States Constitution and 42 U.S.C. §§ 1983 and 1988.

      The Court has jurisdiction in this matter pursuant to 28 U.S.C. §§ 1331 and 1343.

 3.   This case also involves claims arising under State law that are so related to Plaintiff’s §

      1983 claim that they form part of the same case or controversy under Article III of the

      United States Constitution. The Court has supplemental jurisdiction over those matters

      pursuant to 28 U.S.C. § 1367.

 4.   This suit challenges certain actions undertaken by Defendants which caused Plaintiff to

      be deprived of his constitutional rights.

 5.   This Court is an appropriate venue for this cause of action under 28 U.S.C. §

      1391(b)(1) and (b)(2). The actions complained of took place within this judicial district;

      evidence, employment records, and police reports relevant to the accusations are

      maintained in this judicial district; and upon information and belief, all Defendants are

      present and regularly conduct affairs in this judicial district.

                                            PARTIES

 6.   Plaintiff Gaige Treadway is an individual who resided at 1266 Grandview Avenue,

      Heath, Ohio 43056, at all times relevant to this action.




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 7.   Upon information and belief, Defendant Columbus Division of Police is an

      administrative division of the City of Columbus with its primary place of business

      located at 120 Marconi Boulevard, Columbus, Ohio 43215, and a “person” subject to

      suit within the meaning of 42 U.S.C. § 1983.

 8.   Upon information and belief, Ofc. James V. Long is an individual who was (1) in the

      employ of the Columbus Division of Police and (2) acting within the scope of that

      employment at all times relevant to this action, with his primary place of business

      located at 120 Marconi Boulevard, Columbus, Ohio 43215. He is sued both in his

      individual and official capacities.

 9.   Upon information and belief, Sgt. Michael Ramsey is an individual who was (1) in the

      employ of the Columbus Division of Police and (2) acting within the scope of that

      employment at all times relevant to this action, with his primary place of business

      located at 120 Marconi Boulevard, Columbus, Ohio 43215. He is sued both in his

      individual and official capacities.

 10. Upon information and belief, Unknown Officers (“Officers”) are individuals who were

      employed by the Columbus Division of Police at all times relevant to this action, with

      their primary place of business located at 120 Marconi Boulevard, Columbus, Ohio. At

      all times material to the instant matter, each of these individuals was acting within the

      scope and course of their employment. Defendants Unknown Officers are sued both in

      their individual and official capacities.

 11. At all times relevant to this Complaint, Defendants acted under color of state law.

 12. All relevant conduct set forth in this complaint took place within Franklin County,

      Ohio.



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                                            FACTS

 13. On May 30, 2020, Plaintiff and his father joined approximately two-thousand other

      individuals in downtown Columbus, Ohio, to protest the death of George Floyd, as well

      as systemic racial inequality and the pervasive aggression of law enforcement officers

      perpetuated by the customs and policies of the Columbus Division of Police (“CPD”)

      and the City of Columbus.

 14. At all times relevant to this action, Plaintiff and his father engaged in this activity in a

      peaceful, law-abiding manner.

 15. Between 11:00 a.m. and 12:00 p.m., Unknown Officers with the Columbus Division of

      Police subjected Plaintiff, his father, and other peaceful protestors to pepper spray at

      point blank range. Shortly thereafter, officers added gas canisters to their arsenal.

 16. At approximately 12:30 p.m., Plaintiff covered one of the canisters with a bucket and

      water, then began to direct other protestors away from the device.

 17. As reflected by video footage of the events, Plaintiff began to depart after neutralizing

      the canister. While walking away, he displayed his middle finger to Columbus Police

      officers.

 18. As reflected by video footage of the events, members of the Columbus Division of

      Police, including Defendant Michael Ramsey, immediately ran after Plaintiff, grappled

      him from behind, and ripped off his facemask.

 19. Plaintiff was immediately placed under arrest, purportedly for assaulting an officer

      whilst being attacked from behind by the officers.

 20. Thereafter, Plaintiff was transported by cruiser to a temporary CPD holding facility

      near the Columbus Center of Science and Industry (“COSI”). Once there, Unknown



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           Officers taunted Plaintiff, congratulating him on being “the first person to be arrested

           today.”

      21. Plaintiff was Mirandized, questioned, and placed on a bus. He was then held on that bus

           with a half-dozen other individuals for the next six hours.

      22. At approximately 3:50 p.m., while Plaintiff was still being held on the bus, Officer

           James V. Long filed a Complaint in the Franklin County Municipal Court. That

           document contained a sworn statement that Plaintiff “knowingly cause[d] physical

           harm to…Michael Ramsey, a peace officer…by means of punching him.” An Affidavit

           in Support of Probable Cause attached to the Complaint further claimed that Plaintiff

           “was attending a protest and began punching Sgt. M. Ramsey.” Notably, the Complaint

           completely omitted any reference to the officers’ initiation of that violent encounter.

      23. Plaintiff was finally taken to the Franklin County Corrections Center II, also known as

           “Pike,” in the early evening of May 30, 2020. He was kept in a holding cell for

           approximately twenty-four hours, then transferred to a general population cell which

           was so overcrowded that people had to sleep on the floor. He remained in that “gen

           pop” cell for the next twenty-four hours.

      24. Plaintiff’s first court appearance was conducted on June 2, 2020, at which time his

           bond was set at $10,000 cash, surety, or 10%1.

      25. One week later, on June 9, 2020, Plaintiff’s case was summarily dismissed at the

           request of the Franklin County Prosecutor’s Office.

      26. Upon information and belief, the Columbus Division of Police has a longstanding

           practice of overlooking or actively ratifying unchecked officer aggression and



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    Also known as an appearance bond.
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      constitutional deprivations. The Columbus Division of Police was, at all times relevant

      to this matter, aware that its customs create an unreasonable risk that individuals’

      constitutional rights will be violated and has adopted a deliberately indifferent attitude

      to that risk.

 27. Upon information and belief, the conduct of Defendants James V. Long, Michael

      Ramsey, and Unknown Officers was a direct result of the Columbus Division of

      Police’s policies and customs, as well as its failure to adequately supervise officers or

      impose meaningful discipline for constitutional violations.

 28. Upon information and belief, the Columbus Division of Police has overlooked or

      ratified the conduct of its officers as it relates to Plaintiff’s specific assault and arrest.

         COUNT ONE – VIOLATION OF CIVIL RIGHTS UNDER FIRST
                  AND FOURTEENTH AMENDMENTS
                           42 U.S.C. §1983

 29. Plaintiff realleges and incorporates herein by reference all allegations set forth in

      Paragraphs 1 through 28 of this Complaint.

 30. The First Amendment to the United States Constitution, as applied to the States through

      the Fourteenth Amendment, guaranteed Plaintiff the right to freedom of speech,

      freedom of expression, and his right to peacefully protest at all times relevant to this

      matter.

 31. Defendants were aware, or should have been aware, that Plaintiff had the right to

      exercise his freedom of speech and expression through peaceful protest. Instead, having

      taken offense to Plaintiff’s rude gesture, Columbus law enforcement officers, including

      Michael Ramsey, elected to attack Plaintiff from behind and forcibly remove him from

      the area of the protest.



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 32. Thereafter, officers of the Columbus Division of Police including Michael Ramsey,

      James V. Long, and other Unknown Officers conspired to further deprive Plaintiff of

      his rights to peaceful protest and personal liberty by filing a spurious criminal

      complaint.

 33. As a direct and proximate result of Defendants’ acts, Plaintiff was deprived of his

      freedom of speech, freedom of expression, and his right to peacefully protest.

    COUNT TWO – VIOLATION OF CIVIL RIGHTS UNDER FOURTH AND
   FOURTEENTH AMENDMENTS (UNREASONABLE SEIZURE AND FORCE)
                          42 U.S.C. §1983

 34. Plaintiff realleges and incorporates herein by reference all allegations set forth in

      Paragraphs 1 through 33 of this Complaint.

 35. The Fourth Amendment to the United States Constitution, as applied to the States

      through the Fourteenth Amendment, guaranteed Plaintiff the right to be free from

      unreasonable seizures of his person.

 36. Moreover, the Fourth Amendment to the United States Constitution, as applied to the

      States through the Fourteenth Amendment, guaranteed Plaintiff the right not to be

      subjected to excessive force when being stopped or arrested by law enforcement.

 37. Defendants were aware, or should have been aware, that Plaintiff had a right to be free

      from unreasonable seizures, as well as a right not to be subjected to excessive force

      when being stopped or arrested. Instead, Columbus police officers, including Defendant

      Ramsey, elected to attack Plaintiff for a rude gesture, violently rip a gasmask from his

      head, subdue him from behind, and then place him under arrest in the absence of

      probable cause.




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 38. As a direct and proximate result of the aforementioned acts by Defendants, Plaintiff

      suffered actual, physical harm, was prevented from peacefully protesting, and was

      unlawfully deprived of his liberty.

   COUNT THREE – VIOLATION OF CIVIL RIGHTS UNDER FOURTH AND
      FOURTEENTH AMENDMENTS (MALICIOUS PROSECUTION)
                            42 U.S.C. §1983

 39. Plaintiff realleges and incorporates herein by reference all allegations set forth in

      Paragraphs 1 through 38 of this Complaint.

 40. The Fourth Amendment to the United States Constitution, as applied to the States

      through the Fourteenth Amendment, guaranteed Plaintiff the right to be free from

      malicious prosecution.

 41. Defendants were aware, or should have been aware, that Plaintiff had a right to be free

      from malicious prosecution. However, Columbus police officers, including Defendant

      Long, initiated criminal proceedings against Plaintiff through the use of false factual

      allegations and in the absence of probable cause, for no other purpose but to

      maliciously punish Plaintiff for his rude gesture.

 42. Though this spurious criminal proceeding was dismissed at the request of the Franklin

      County Prosecutor’s Office, this relief was only provided after Plaintiff suffered a

      significant deprivation of his liberty.

  COUNT FOUR – STATE LAW CLAIM FOR INTENTIONAL INFLICTION OF
                      EMOTIONAL DISTRESS

 43. Plaintiff realleges and incorporates herein by reference all allegations set forth in

      Paragraphs 1 through 42 of this Complaint.




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   44. In engaging in the foregoing acts, Defendants James V. Long, Michael Ramsey, and

         Unknown Officers acted intentionally and with malice towards Plaintiff with the

         express purpose of causing him serious mental and emotional harm.

   45. As a direct and proximate result of Defendants’ conduct, Plaintiff has, in fact, suffered

         serious mental and emotional harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, in light of the foregoing, Plaintiff demands judgment in his favor

against Defendants; that he be awarded those compensatory damages in an amount to be shown

at trial; that he be awarded punitive damages in an amount to be shown at trial; that he be

awarded costs and attorneys’ fees for this action; and he be awarded any other legal and

equitable relief that this Court deems proper.

                                                 Respectfully submitted,

                                                 /s/ Samuel H. Shamansky__________________
                                                 SAMUEL H. SHAMANSKY CO., L.P.A.

                                                 Samuel H. Shamansky (0030772)
                                                 Donald L. Regensburger (0086958)
                                                 523 South Third Street
                                                 Columbus, Ohio 43215
                                                 (614) 242-3939 – Phone
                                                 (614) 242-3999 – Fax
                                                 shamanskyco@gmail.com

                                                 Counsel for Plaintiff

                                 DEMAND FOR JURY TRIAL

       Trial by jury is demanded on all issues so triable.

                                                 Respectfully submitted,

                                                 /s/ Samuel H. Shamansky__________________
                                                 SAMUEL H. SHAMANSKY CO., L.P.A.

                                                 Samuel H. Shamansky (0030772)
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                                        Donald L. Regensburger (0086958)
                                        523 South Third Street
                                        Columbus, Ohio 43215
                                        (614) 242-3939 – Phone
                                        (614) 242-3999 – Fax
                                        shamanskyco@gmail.com

                                        Counsel for Plaintiff




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